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                          Case No. 25-cv-00613-MLB                                                   MAY 2 3 2025
                     UNITED STATES DISTRICT COURT                                               KEVIN P WEIMER, Clerk

                     NORTHERN DISTRICT OF GEORGIA                                               B~                          Clerk

                           ATLANTA DIVISION


                                         In re:
                             GROUP MANAGEMENT CORP.,
                                   a/k/a IVG Corp.,
                                        Debtor.



                                   ULYSSES T. WARE, and
                                   GROUP MANAGEMENT,
                                        Appellants,

                                                    V.


                   ALPHA CAPITAL, AG,
                   STONESTREET, L.P.,
                MARKHAM HOLDINGS, LTD.,
   AMRO INTERNATIONAL, S.A., QBE INSURANCE CORP, CRUM &
              FORSTER INSURANCE COMPANY,
                           et al.,
                         Appellees.


                On Appeal from the United States Bankruptcy Court
               for the Northern District of Georgia (Atlanta Division),
                Case No. 03-93031-BEM (Hon. Barbara Ellis-Monro)


              (Title): APPELLANT'S OPENING APPELLATE BRIEF
                            . Filed on behalf of Appellants,
                        Ulysses T. Ware and Group Management




(Part 18-0AAA-1) re : Ware, et al. v. Alpha Capital, AG, et al., Appellant's Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on May 20, 2025, via email to Chambers and U.S. mail.
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Dated: May 20, 2025, 7:50:29 AM
Brooklyn, New York

Respectfully submitted,

Isl Ulysses T. Ware


~lz; ~~ew~
Attorney in Fact for Appellants
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(Part 18-0AAA-1) re: Ware, et al. v. Alpha Capital, AG, et al., Appellant's Rule 8014 Opening Brief
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Appellants' Declaration of Duress, Objection, and Protest Filing and
      Rule 8015(a)(7)(B)(i), 8015(h) type-volume Compliance.
        Appellants Ulysses T. Ware and Group Management, Chapter 11 Debtor

(collectively, "Appellants"), and the prevailing parties in Judge Sand's 02cv2219

(SDNY) Dec. 20, 2007, Dkt. 90, voluntary, after the statute of limitation had run

on all claims in 02cv2219 Rule 41(a)(2) final judgment, (the "Final Judgment"),

[JSAR Dkt 5-13 pp. 46-47], under oath subject to the penalty of perjury, having

personal knowledge of the facts, pursuant to 28 USC § 1746, on April 29, 2025, in

Brooklyn, NY respectfully advise the Court that they submitted the accompanying

supplemental Rule 8014(a) opening brief under threats of punitive sanctions,

protest, objection, and duress solely to comply with the Court's manifestly ultra

vires, void ab initio , unconstitutional, and punitive April 28, 2025 , Order (Dkt. 38)

"25 pages" (10,833.33 words) 1 restrictive, punitive, arbitrary, capricious, and

unconstitutional filing sanctions and restrictions.


1
 See Fed. R. Ban1cr P. 8015(a)(7)(B)(i) optional type-volume authorizations. Under the Fed. R.
Ban1cr. P. 8015(a)(7)(B)(i) Appellants are lawfully authorized to opt-in to the Section B Type-
Volume Limitation and submit an Opening Brief ofno more than 13,000 words, see Dkt. 26, Rule
8015 (h)(l) certification of the April 10, 2025, Opening Brief that contained 9,068 words, well
within the 13,000 word limitation. This unauthorized Rule 8014(a) Supplemental Opening Brief
was prepared pursuant to Section B's Type-Volume word limitation: Per the Court's April 28,
2025, Order, Dkt. 38, "25 pages" was converted into the equivalent words (10,833.33) and this
Supplemental Brief contains 9,459 words, well within the Court's ultra vires ordered 10,833.33
words or arbitrary and capricious "25 pages" limitation equivalent-that is, a federal court is
not lawfully authorized to reduce only increase the page or word limitation. See Appx E and Appx
F.


                                                    iii

{Part 18-0AAA-1) re: Ware, et al. v. Alpha Capital, AG, et al., Appellant's Rule 8014 Opening Brief
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        Appellants hereby _declare, on this 30th day of April 2025, in Brooklyn, NY,

under oath, subject to the penalty of perjury, having personal knowledge of the facts,

expressly state that:


    1. Reservation of Objections. Appellants' fully compliant original opening

        brief, filed and docketed on April 10, 2025 (Dkt. 26), fully conformed to Fed.

        R. Bankr. P. 8015(a)(7)(B)(i) (9,068 words) was accepted, certified, and

        docketed by the District Clerk pursuant to Rule 8015(() as the Appellants'

        Opening Brief.

    2. Neither the District Clerk nor the District Judge has filed on the 25cv00613

        docket any written notice of filing defects with respect to the April 10, 2025,

        Dkt. 26 Appellants' Opening Brief; nor entered a written show cause Order

        in regard to the threatened punitive sanctions listed in Dkt. 38.



2
  Neither the District Clerk nor the District Court (Brown, J.) issued any written and docketed
deficiency notice with respect to the April 10, 2025, Appellants' Opening Brief, Dkt. 26; under
Fed. R. Bankr. P. 8015(f) a "document [Dkt. 26] that complies with the form requirements ...
must be accepted." By officially accepting and docketing the Appellants' Opening Brief on 10
April 2025- after the Clerk confirmed the§ 8015(h)(l) certificate [see Dkt. 26, page 51: Rule
8014 X: Certificate of Compliance]- the District Court irrevocably acknowledged formal
compliance with Rule 8014(a), thereby (i) waiving and forfeiting Uudicial estoppel) any objection
to length or formatting, (ii) foreclosing ultra vires sua sponte demands for an arbitrary and
capricious "25 pages" supplemental brief, and (iii) precluding dismissal predicated on imagined
defects. See Fed. R. Civ. P. 83-(b) (no sanction permitted or lawfully authorized absent prior actual
notice of filing defects). Due process and the orderly administration of bankruptcy appeals compel
adherence to that acceptance record and reinforces iudicial estoppel against contrary positions
later.


                                                    iv

(Part 18-0AAA-1) re: Ware, et al. v. Alpha Capital, AG, et al., Appellant's Rule 8014 Opening Brief
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    3. Appellants, therefore, object and protest to the necessity and legality of filing

        a second Rule 8014(a) "opening" brief where no written filing defects have

        been identified by the District Court, and they expressly preserve all appellate

        arguments previously asserted in Dkt. 26-including those set out in any Rule

        59(e) motion for reconsideration or other relief (Rule 60(d)(3) fraud on the

        court)-regarding the ultra vires and void ab initio nature of Dkt. 38.

    4. Non-Waiver. The filing of this supplemental brief is made under protest,

       fear, threats ofpunitive sanctions, and duress, is not voluntary, and shall

        not be construed as a waiver o(any substantive or procedural right, claim,

        or defense, nor as consent to the Court's radical and unprecedented

        "wholesale" (manifest) departure from the Federal Rules o(Bankruptcy

        Procedure, Fed. R. Civ. P. 83{b), or the Due Process Clause. 3




3
  Appellants expressly invoke the common-law doctrine of duress and the contemporaneous-
objection rule; any submissic;m compelled by threat of punitive sanction preserves, rather than
forfeits, all challenges to the Court's Article III constitutional subj ect matter jurisdiction and
procedural regularity. See Fed. R. Civ. P. 83(b); Bankr. R. 8014, 8028. A coerced filing cannot be
deemed consent, waiver, or acquiescence, cf. Fuentes v. Shevin, 407 U.S. 67, 95-96 (1972), nor
does it moot appellate issues of structural error. The reservation clause safeguards the right to seek
vacatur under Rule 60(b)(4) or Rule 60(d)(3), and to pursue mandamus prohibiting any sanction
predicated upon the compelled brief or judgment, and preserves equitable or statutory remedial
relief thereafter if necessary. See Massachusetts Ins tit. of Tech. v. Abacus Software, 462 F .3d 1344,
1358-59 (Fed. Cir. 2006), citing and quoting Fed. R. Civ. P. 83(b)("No sanction or disadvantage
may be imposed for noncompliance with any requirement not in federal law, federal rules, or
the local district rules unless the alleged violator has been furnished in the particular case with
actual notice of the requirement.") (emphasis added).


                                                     V


(Part 18-0AAA-1) re : Ware, et al. v. Alpha Capital, AG, et al., Appellant's Rule 8014 Opening Brief
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     5. Continued Challenge. Appellants reserve the right to seek vacatur,

         mandamus, or any other appropriate relief from this or any higher court,

         including emergency mandamus relief. with respect to Dkt. 38's threats of

         ultra vires punitive sanctions, and any adverse consequences stemming

         therefrom.


 Respectfully resubmitted this 30th day of April 2025.


01.r J. /1/4N-
 /s/ Ulysses T. Ware
 Ulysses T. Ware, prose and as attorney-in-fact for Group Management, Debtor

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Rule 8014 I:             CORPORATE DISCLOSURE STATEMENT

I. Purpose


        Pursuant to Federal Rule of Bankruptcy Procedure 8012, the purpose of this

Corporate Disclosure Statement is to identify any parent corporation or any publicly

held corporation that owns 10% or more of the equity interests in the Appellant.


II. Disclosure

1. The Appellants are 11 USC § 1109(b) statutory parties in interest, and the final

judgment prevailing parties in the underlying 02cv2219 (SONY) proceedings

pursuant to the late District Judge (SONY) Sand's Dec. 20, 2007, Dkt. 90, voluntary

Fed. R. Civ. P. 41(a)(2) plaintiffs' (Appellees ' herein) final judgment [JSAR Dkt. 5-

13 at pp 46-4 7]:


    • Ulysses T. Ware, an individual and natural person, doing business as Group

        Management, a sole proprietorship, formerly the Chapter 11 debtor in 03-

        93031 (BC NDGA).

    • Group Management, operating as a sole proprietorship (d/b/a) of Mr. Ware.


2. Appellants are not a corporation, nor is there any publicly held corporation that

owns 10% or more of the equity interests in Group Management. As a sole




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proprietorship, Group Management has no parent corporation and no publicly traded

ownership interests.


3. No corporate disclosure requirements apply beyond the foregoing statement.


Dated: April 29, 2025

Respectfully submitted,

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    9. Fed. R. Bankr. P ...... .... ...... .... ........ ...... .... .... ... .. .......... .. ..... .. ... ........ .... ................... .....passim
    10. Fed. R. Bankr. P. 8015(a)(5) ............ .. ............ ... ...... ...................... ............ ....... ...... ... ..... .. 40
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    12. Fed. R. Bankr. P. 8015(a)(7)(B) ........ ........... ......... ........... .. ... ..... .... ........ .......... .... ... ........ 40
    13 . Fed. R. Bankr. P. 8015(g) ............................................. .. ..... ... ... ........... .. .. .. ..................... 40
    14. Fed. R. Bankr. P. 8015(h) .......... ............................... .... ............... ......... .. ... ..... ... ............ .. 40
    15. Fed. R. Bankr. P. 9011 .... ...................... .. ................... ......................................... .. ..... ... ... 39
    16. Fed. R. Bankr. P. 901 l(b)(l-4) ... ........ ... ..... ... ........ ... .... .... .. .. ..... .. ... ... ... ...... .... ..... 23 , 39, 40
    17. Fed. R. Bankr. P. 9014 ...... .... ..... ....... ..... ... ... .... ....... .............. ..... ... ............. .. .. ...... .... ........ 15
    18. Fed. R. Bankr. P. 9014/12(h)(3) .. ....... .......... .... ............ ... ......... ......... .... .. ... .. ... .......... 13 , 15
    19. Fed. R. Bankr. P. 9024 ....... ......... ......... .. ........ ... ... ........ .. .. .. ..... .. .... .. ..... ................ .. ..... .. .. 16


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    20. Fed. R. Civ. P. 41(a)(2) .. ....... .. ..... .. .... ....... .. ..... ................. ........ .. ....... .... ... 8, 17, 23, 25, 26
    2 1. Fed. R. Civ. P. 59(e) .. .... ............ ...... ... ...... ..................... .... ........... ............ ................. 15, 16
    22. Fed. R. Civ. P. 60(b)(4) .. .......................................... .. ......... ...... ... .. ......... .... .. .... ..... ..... ... . 16
    23 . Fed. R. Evid. 201(c)(2) ............ .. ........ .... ....... ... .... .... ..... .. .... ...... ... .................. ...... 13, 24, 37
    24. Fed. R. Evid. 201(e) ..... .... ............................. .... ...... ... ... .. ........ .... ..... .... .. ... .... ... .. ..... .... ..... 37
    25. Model Rules of Prof I Conduct R. 3.3 ....... ..... ...... ... ... ... ......... ..... ..... ... ... .. .... ...... .. 16, 39, 43
    26. Model Rules of Profl Conduct R. 8.4 .. ....... ............................................... .. ........ 16, 39, 43

Constitutional Provisions

    1.    U.S. Const. art. III .. ........... .. .............................. .............. ............. ... ......................... passim

Other Authorities

    1. Appx A and Appx B (Appellees' Stipulated Facts, DC Dkt. 19-4) ... ... ......... 12, 13, 19, 37
    2. FINRA Certification (JSAR Dkt. 5-13, p. 48) ..... .... ....... ... ... .. ..... ..... ... .. ... .. .. .... .. 22, 25, 31
    3. JSAR (Joint Stipulated Appellate Record, Bankr. Rule 8009(d)) ... ...... ... .. .. ...... ..... passim
    4. SEC Release 33-7190 n. 17 (1995) ........... ........ ..... ............. ... .. .. ....... ... ... ...... .... .. .......... . 27




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Rule 8014 IV: JURISDICTIONAL STATEMENT

A. Basis for the Bankruptcy Court's Subject Matter Jurisdiction

    1. Statutory Provisions Cited by the Bankruptcy Court

            a) 28 U.S.C. § 1334: Commonly invoked by bankruptcy courts for

                "original" jurisdiction over core proceedings under Title 11.

            b) 28 U.S. C. § 157: Purports to refer Title 11 matters to a non-Article III

                bankruptcy tribunal.


    2. Factual and Legal Grounds for Asserting the Bankruptcy Court's Lack

        of Article III Jurisdiction


            a) The      Bankruptcy Court,            in In      re Group Management                   Corp. ,

                No. 03-93031 (Bankr. N.D. Ga.), purported to adjudicate controversies

                arising from "predatory criminal usury" transactions (designated as

                GX 1-4 and GX 5).

            b) These so-called "convertible promissory notes," forming the heart of

                the purported claims by certain unregistered broker-dealers, were null

                and     void     ab    initio    criminally      usurious       under     federal       law

                (18 U.S.C. §§ 195l(a), 1961(6)(8), 1962(a)-(d)) and New York Penal

                Law§ 190.40.


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            c) Appellants contend that such "predatory criminal usury" matters-by

                their criminal nature and constitutional import- fall outside the limited

                jurisdiction authorized for a non- Article III bankruptcy forum.

            d) Consequently, the            Bankruptcy Court's             orders     dismissing the

                Chapter 11 case (Dkt. 28) and entering subsequent rulings (including

                Dkt. 256, 262, 267, 274, 275, 278, and 286, as well as JSAR Dkts. 5-6,

                5-7, 5-8, 5-9, and 5-10) were entered by an adjudicatory body lacking

                essential Article III subject matter jurisdiction (standing) and

                constitutional authority to determine or enforce the rights and liabilities

                founded upon such criminal usury allegations.


B. Basis for the District Court's Jurisdiction

    1. Statutory Provisions

            a) 28 US. C. § l 58(a): Generally confers on the District Court appellate

                jurisdiction over final orders, decrees, or rulings of the Bankruptcy

                Court.


    2. Present Jurisdicti9nal Challenge

            a) Although        Appellants        timely     filed    notices      of appeal           under

                28 U.S.C. § 158(a), the District Court's appellate jurisdiction is



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                 necessarily premised upon the Bankruptcy Court having had a

                 confirmed basis in law for entering the orders in question.

            b) Because the Bankruptcy Court lacked the requisite Article III

                 constitutional authority, subject matter jurisdiction, to adjudicate

                 claims grounded in predatory criminal usury (GX 1-4, GX 5),

                 Appellants contend that the District Court likewise lacks Article III

                jurisdiction to reach or determine the merits of those same predatory

                 criminal usury-based issues on appeal.

            c) Put simply, no Article III jurisdiction can attach to these proceedings

                given that the underlying 03-93031 bankruptcy, or 02cv2219 (SDNY)

                tribunals were powerless ab initio to hear or decide these predatory

                criminal usury controversies.


C. Filing Dates Demons~rating the Timeliness of the Appeal

    1. Chronology of Key Events

            a) On May 21, 2003, the Bankruptcy Court entered its Dismissal Order

                (Dkt. 28), which purportedly disposed of the Chapter 11 case with

                prejudice. Subsequent orders followed in October 2022 (Dkt. 256) and

                December 2022 (Dkt. 274, 275, 278, and on January 27, 2025, (Dkt.

                286).

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            b) Appellants filed a Notice of Appeal (Dkt. 279) in the Bankruptcy Court

                on February-3, 2025, appealing Dkt. 278 (01 /27 /25), along with later

                amendments, Dkt. 289, and Dkt. 295, designating these final orders for

                appellate review.


    2. Compliance with Fed. R. Bankr. P. 8002

            a) The notices of appeal and amendments, Dkt. 289 (February 14, 2025),

                and Dkt. 293 (February 26, 2025), were filed and served within the

                deadlines authorized by Rule 8002, thus preserving the issues for

                appellate consideration.

            b) Notwithstan~ing timeliness, Appellants steadfastly maintain that the

                District Court is constitutionally precluded from affirmatively

                exercising merits review over a proceeding that was constitutionally

                void at its inception.


D. Assertion That the Appeal Concerns Orders Final in Form but Void for Lack

of Article III Jurisdiction


    1. Nature of Finality

            a) The Bankruptcy Court's orders dismissing the Debtor's case, Dkt. 28,

                Dkt. 278 (01-.27.25), and Dkt. 286 (02.18.25), issuing related rulings or


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                decrees on the supposed enforceability of the usurious notes (GX 1-4,

                GX 5) are, in conventional bankruptcy parlance, "final orders."

            b) Accordingly, on their face, these orders are appealable under

                28 U.S.C. § 158(a)(l).


    2. Effect of Lack of Article III Jurisdiction

            a) Appellants contend these orders or decrees entered by the Bankruptcy

                Court must. be declared null and void ab initio, because a non-

                Article III tribunal cannot lawfully and validly adjudicate, enforce,

                and/or facilitate enforcement and/or collection of predatory criminal

                usury claims in violation of the federal and state racketeering and loan

                sharking laws.

            b) Consequently, the District Court, though nominally and normally

                vested with appellate oversight, accordingly, lacks Article III

                constitutional authority to address any merits arising from the

                Bankruptcy Court's unauthorized rulings.

            c) Hence, in this appeal, Appellants ask the Court to recognize the absence

                of any valid Article III ( standing) jurisdiction below 02cv2219 (SDNY)

                and 03-93031 (BC NDGA), and reverse or vacate all orders on that




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                threshold ground, without proceeding to a merits review of the

                underlying usury claims.


Rule 8014 V: STATEMENT OF THE ISSUES PRESENTED ON
APPEAL: REVERSIBLE ERRORS

A. LIST OF APPELLATE ISSUES RAISED BY APPELLANTS.

    1. Article III Jurisdiction. Whether the Bankruptcy Court possessed requisite

        Article III subject-matter jurisdiction over claims and debts allegedly

        grounded in predatory and criminally usurious transactions, as presented in

        GX 1-4 and GX 5, and whether the Bankruptcy Court' s adjudication of such

        disputes was constitutionally permissible. No.

    2. Recognition of Allegedly Usurious Claims. Whether the Bankruptcy Court

        erred by permitting, recognizing, or enforcing Appellees ' claims in the

        Chapter 11 case- claims alleged to arise from criminally usurious or

        otherwise void loan transactions---despite substantial evidence and legal

        precedents suggesting such debts cannot be enforced. Yes.

    3. Due Process and Evidentiary Hearing. Whether the Bankruptcy Court

        deprived Appellants of due process by refusing to hold a dedicated evidentiary

        hearing or otherwise investigate detailed allegations of fraud on the court,




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        perJury, and misc.onduct advanced by Appellants regarding the alleged

        criminally usurious debts. Yes.

    4. Bad Faith Dismissal Under 11 U.S.C. § 1112(b). Whether the Bankruptcy

        Court's determination that the Debtor's Chapter 11 filing was made in bad

        faith, justifying a dismissal with prejudice, complied with the procedural and

        substantive requirements of 11 U.S.C. § 1112(b), including whether the

        court's findings of fact or conclusions of law were insufficient or clearly

        erroneous. No.

    5. Bona Fide Dispute and Standing. Whether the Bankruptcy Court erred in

        concluding there was no bona fide dispute over Appellees ' standing to enforce

        the convertible notes or other debt instruments allegedly linked to criminal

        usury, and whether it failed to apply the proper legal standard in assessing

        good faith, enforceability, and standing. Yes.

    6. Refusal to Vacate or Reopen the Dismissed Case. Whether the Bankruptcy

        Court abused its discretion by declining to vacate the dismissal or reopen the

        case in response to Appellants' proffered newly discovered evidence, alleged

        fraud on the court, or purported changes in controlling law that might have

        invalidated Appellees' usurious claims. Yes.




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    7. Scope of Statutory Authority. Whether the Bankruptcy Court exceeded its

        statutory authority by issuing final orders on matters that, according to

        Appellants, either fell under a prior federal judgment's preclusive effect or

        required specialized Article III adjudication due to the criminal nature of the

        challenged debt obligations. Yes.

    8. Denial of Meaningful Appellate Rights. Whether the Bankruptcy Court

        deprived Appellants of a full and fair opportunity to assemble the record,

        pursue appellate remedies, or present all claims of wrongdoing when it

        allegedly denied or unduly restricted Appellants' attempts to supplement the

        record with further evidence of predatory criminal usury and fraud. Yes.

    9. Preclusive Effects of Prior Federal Judgments. Whether the Bankruptcy

        Court erred in neglecting or refusing to evaluate the effect of prior orders or

        judgments- including a Rule 41(a)(2) final judgment in another federal

        proceeding-that may have already extinguished or barred the claims asserted

        by Appellees. Yes.

    1O.Miscarriage of Justice from Unaddressed Illegalities. Whether the

        Bankruptcy Court's rulings collectively produced a miscarriage of justice-

        particularly its failure to address the alleged lack of proper licensing, statutory

        authority, or legal basis for Appellees to enforce contracts tainted by criminal


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        usury-necessitating reversal or remand on equitable or constitutional

        grounds. Yes.

    I I .Misapplication of Criminal Usury Statutes. Whether the Bankruptcy Court

        failed to apply or misapplied relevant federal or state criminal usury statutes

        (including any RICO implications), thus overlooking core illegality that

        allegedly rendered the debts unenforceable or void ab initio. Yes.

    12. Validity of Debt Instruments and Licensure. Whether the Bankruptcy

        Court erred by concluding that the convertible notes and related financing

        documents (GX 1-4, GX 5) were validly executed, perfected, and

        enforceable, even though Appellants maintained that none of the noteholders

        possessed the requisite broker-dealer licensure or other regulatory authority

        to extend credit. Yes.

    13.Failure to Sanction or Inquire into Perjury or Misrepresentation.

        Whether the Bankruptcy Court erred in declining to impose sanctions or

        inquire into alleged perjury, false statements, or fraudulent representations by

        Appellees and their counsel regarding the nature or legitimacy of the debts at

        issue. Yes.

    14.Unclean Hands and Collusion. Whether the Bankruptcy Court's refusal to

        examine alleged unclean hands or collusion among Appellees and third parties


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        prevented a full and fair adjudication of the Chapter 11 case, violating core

        equitable principles. Yes.

    15.Reliance on Erroneous Factual Findings. Whether the Bankruptcy Court's

        rulings improperly relied on or adopted earlier erroneous factual findings-

        particularly with regard to the face amount, licensure status, or alleged

        criminal usury aspects of the debts-thereby prejudicing the outcome. Yes.

    16.lmproper Extension or Recognition of Security Interests. Whether the

        Bankruptcy Court' s validation or recognition of any liens, security interests,

        or other claims secured by Appellees was authorized, given the alleged defects

        in the underlying transactions, the absence of proper documentation, and

        contravention of public policy against criminal usury. Yes.

    17.Consistency with SDNY Proceedings and Orders. Whether the Bankruptcy

        Court properly considered or incorrectly disregarded relevant rulings or

        evidence from parallel or prior federal court actions (including those in the

        Southern District of New York), thereby undermining or contradicting final

        determinations already made in those proceedings and intensifying the

       jurisdictional and substantive errors alleged by Appellants. Yes.




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B. STANDARDS OF APPELLATE REVIEW

        When reviewing a Bankruptcy Court's rulings, the District Court employs

three principal standards of review depending on the nature of the issue on appeal:

(1) de novo review for conclusions of law and jurisdictional determinations; (2)

clear-error review for factual findings; and (3) abuse-of-discretion review for certain

discretionary or equitable decisions.


    1. De Novo Review


    Pure legal questions-such as whether the Bankruptcy Court possessed subject

matter jurisdiction to hear alleged criminal usury or RICO violations-are reviewed

de novo. In re JLJ Inc., 988 F.2d 1112, 1116 (11th Cir. 1993). Under this standard,

the reviewing court affords no deference to the Bankruptcy Court's legal

conclusions. See also Ritzen Grp. v. Jackson Masonry, LLC, 140 S. Ct. 582, 589

(2020) (reviewing certain_finality determinations de novo ). Thus, with respect to the

purely legal challenges raised in the Joint Statement of Issues-such as subject

matter jurisdiction, statutory interpretation, or finality questions under Ritzen-this

Court will independently consider and decide those legal questions.


    2. Clear-Error Review




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    Factual determinations made by the Bankruptcy Court are upheld unless they are

"clearly erroneous." Fed.· R. Banlcr. P. 8013; Anderson v. Bessemer City, 470 U.S.

564, 573 (1985). A finding is clearly erroneous only when, after reviewing the entire

record, "the court is left with the definite and firm conviction that a mistake has been

committed." Anderson, 470 U.S. at 573- 74. Factual disputes in the underlying

bankruptcy-such as whether predatory, criminal usury promissory notes, GX 1-4,

carried unlawful interest rates or whether specific parties participated in a continuing

racketeering enterprise-are reviewed under this highly deferential standard. The

reviewing court does not reweigh evidence; it instead asks whether the record fairly

supports the factual determinations reached below.


    3. Abuse-of-Discretion Review


        Finally, if the Bankruptcy Court's order involved a discretionary or equitable

    decision- such as imposing or denying sanctions, approving a settlement, or

    managing the progress of the case- the District Court applies the abuse-of-

    discretion standard. In re Walker, 515 F.3d 1204, 1212 (11th Cir. 2008). Under

    that standard, the Bankruptcy Court' s ruling will be affirmed unless it rests on a

    clear error of judgment or applies the wrong legal standard. Walker confirms this

    approach for areas in which the Bankruptcy Court necessarily exercises broad


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    equitable discretion, including decisions on sanctions, schedule management, or

    case oversight.


        Under these controlling principles of appellate review, legal questions-such

as jurisdiction or interpretations of statutory law-are examined afresh (de novo ),

thereby assuring that Appellants' positions receive thorough and independent

consideration. Factual findings 4 will be overturned if the record reveals a clear and

unmistakable error, safeguarding Appellants against any unfounded or inadequately

supported determinations. Lastly, in assessing the Bankruptcy Court's discretionary

decisions, the District Court will set them aside if they rest upon an erroneous legal

standard or reflect an unreasonable application of the facts, preserving Appellants'

rights from any improper exercise of judicial discretion.


Rule 8014 VI: STATEMENT OF THE CASE
A. The Parties' Joint Stipulated Dispositive Relevant Facts to the Issues

Submitted for Review. 5




4
  See Appx A and Appx B-Appellees on March 31, 2025 , DC Dkt. 19-4 voluntarily and willfully
agreed, consented, judicially admitted, and stipulated dispositive factual stipulations that resolved
all issues on appeal in favor of Appellants.
5
  See JSAR Dkt. 5-13, 5-14, and 5-16 and Dkt. 9; Appx. A (The parties' FRE 20l(c)(2)joint
stipulated admissions, facts, and concessions); Appx B (same).

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        See Appx A and Appx B-Appellees on March 31, 2025, DC Dkt. 19-4

voluntarily and willfully agreed, consented, judicially admitted, and stipulated

dispositive factual stipulations that resolved all issues on appeal in favor of

Appellants.


I. PROCEDURAL POSTURE OF THE CASE
A. Initiation of the Appeal

    On February 3, 2025, Appellants Ulysses T. Ware d/b/a and Group Management

(a sole proprietorship) filed a Notice of Appeal (Dkt. 279, Bankruptcy Case No. 03-

93031-BEM), appealing Dkt. 278 decree (01.27.25), which was docketed in the

District Court on February 7, 2025, Dkt. 279, commencing Case No. 25cv00613

before the United States District Court for the Northern District of Georgia, Atlanta

Division, the Hon. Michael L. Brown.


    The appeal challenges multiple final orders or decrees entered in the 03-93031

Bankruptcy Court (NDGA), [BC Dkt. 28, 256, 263, 267, 274, 275 , 278 , and 286;

JSAR Dkt. 5-6, 5-7, 5-8, 5-9, and 5-10] pursuant to Bankr. Rule 9014/ 12(h)(3) for

lack of Article III subject matter jurisdiction regarding Appellee Atlanta, GA law

firm Kilpatrick, Townsend, Stockton, LLP's clients, predatory unregistered broker-

dealers Hobbs Act interstate trafficking in predatory criminal usury unlawful debts,


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GX 1-4, and GX 5, which are indisputable null and void ab initio pursuant to NYS

Penal Law, section 190.40, the criminal usury law, a class E felony, and federal loan

sharking and racketeering laws, 18 USC §§ 1951(a), 1961(6)(B), and 1962(a-d)

including but not limited to:


1) The Order of Dismissal With Prejudice, entered on May 21, 2003, by Judge

    Margaret H. Murphy (Dkt. 28 in Bankruptcy Case).

2) Subsequent orders or decrees entered on October 24, 2022, [BC Dkt. 256], and

    December 12, 2022, [BC Dkt. 274], December 13, 2022 [BC Dkt. 275], and

    others, January 27, 2025, [BC Dkt. 278], affecting jurisdiction and substantive

    rights of the Appellants under Article III of the United States Constitution and

    statutory rights under 11 U.S.C. §§ 541 , 542, and 1109(b), and Rule 8001 et seq.


B. Designation of Record and Transmittal

        Pursuant to Rule 8009(a) and (d), Appellants timely filed their Designation

of Record on Appeal and Statement of Issues. Appellants transmitted an initial and

amended Joint Stipulated Appellate Record (Dkt. 290-295) in compliance with Rule

8009(d). The record includes over 550 pages of underlying filings (see Dkt. 5-1 to

5-16, and Dkt. 9) and demonstrates substantial factual and procedural complexities,




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including motions under 11 U.S .C. §§ l l 12(b), 105(a), and Rule 9014/12(h)(3) for

vacatur of void judgments.


C. Procedural Developments in the District Court

    Following the docketing of the appeal:

    1.   On February 13, 2025, the District Court (Brown, J.) issued an Order (Dkt.

         4) advising that appellant Group Management, a sole proprietorship, see 28

         USC § 1654, must appear through counsel. This was reiterated in a March

         10, 2025, Order (Dkt. 6), which subsequently erroneously dismissed Group

         Management without prejudice for failure to obtain counsel.

    2.   Appellants contested this dismissal and filed a timely Rule 59(e) Motion to

         Vacate (Dkt. 14-1, 14-3) supported by detailed memoranda of law (Dkt. 14-

         4, 14-6) and declarations (Dkt. 14-7). The Rule 59(e) motion was denied on

         April 28, 2025, Dkt. 38, without any legal reasoning or analysis.

    3.   The District Clerk issued a Bankruptcy Appeal Briefing Schedule (Dkt. 10)

         on March 17, 2025, setting the Appellants' Brief due by April 16, 2025.

    4.   Appellants served formal Notice of Adverse Consequences to all Appellees

         (Dkt. 7, 7-1), citing binding federal judgments (e.g., United Student Aid

         Funds, Inc. v. Espinosa , 559 U.S. 260 (2010)) and asserting waiver of

         defenses due to non-response.

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            a. Appellants filed multiple supplemental filings between March 18-26,

                2025, including:

    b) Request for Rule 3.3 and Rule 8.4 Show Cause Order (Dkt. 12) (pending).

    c) Declaration of Undisputed Facts (Dkt. 15)

    d) Supplemental Memoranda of Law on 18 U.S.C. §§ 1961-1964 RICO and

         § 2 Accessory Liability, including factual exposition ofjudicial fraud, insider

         fiduciary status, and criminal usury loan schemes involving Appellees' alter

         egos (Dkt. 17-1 through 17-7)

    e) On March 26, 2025, Appellants filed their Supplemental Memorandum

         (Letter Brief) (Dkt. 18) in further support of the March 10 application for a

         show cause order and appellate relief, incorporating specific Rule 59(e), Rule

         60(b)(4), and Rule 9024 arguments. (pending).


D. Related Proceedings: 02cv2219 (SDNY) and 03-93031 (BC NDGA).

         The bankruptcy docket (Case No. 03-93031) reflects a complex and highly

contested history including:


    1.   Dismissal of the 03-93031 Chapter 11 case with prejudice on May 21, 2003

         (Dkt. 28), rendering the Debtor ineligible to refile under Title 11 for 180 days.

         (dismissed while the Bankruptcy Court lacked all Article III jurisdiction over


                                                    17

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         the predatory criminal usury subject matter, GX 1-4, and GX 5, referenced

         and relief on in the UST's (Dkt. 5-1, 5-3) and KTS' (Dkt. 5-2, 5-4, 5-5, and

         5-6) judicial pleadings.

    2.   Multiple post-dismissal filings by Appellants asserting fraud on the court,

         prosecutorial misconduct, and suppression of evidence in violation of Brady

         v. Maryland, 373 U.S. 83 (1963) (see Dkt. 5-14 to 5-16) and other precedents

         were filed in the Chapter 11 case, yet the merits of the issues were never

         addressed by the Bankruptcy Court (Hagenau, C.J.).

    3.   Appellants have repeatedly invoked binding res judicata and claim preclusion

         based on Judge Sand's 02cv2219 (SDNY) voluntary December 20, 2007,

         Final Judgment (Dkt. 90, 02cv2219 SONY) under Fed. R. Civ. P. 4l(a)(2),

         and Judge Sand's August 13, 2003, insider trading order (Dkt. 65)

         establishing Appellees as fiduciary insiders subject to § 542 turnover

         obligations exceeding $522 million in 15 USC § 78p(b) strict-liability short-

         swing insider-trading profits. [JSAR Dkt. 5-13 pp 43-44; and 46-47,

         respectively].


E. 25cv00613 (NDGA) Appeal Status as of May 20, 2025.

    1.   Appellants remain the only real parties in interest having standing actively

         prosecuting or appearing in the appeal. To date, no Appellee has entered an

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         appearance or responded to the appeal, despite actual service of all appellate

         filings and express advisories regarding the consequences of default. Dkt. 7

    2.   Appellants continue to seek a status conference and hearing on pending

         jurisdictional and remedial motions. Dkt. 12, Dkt. 14, and Parts 17-13

         (Motion for restraining order and injunctive relief) (Pending). Denied on April

         28 , 2025 , Dkt. 38.

    3.   The 25cv00613 (NDGA) appeal is not fully briefable as of today, May 20,

         2025-that is, dispositive Article III standing and ripeness matters (see Dkt.

         12, Dkt. 14), and Rule 8013(a)(l) motions (Parts 17-13, 17-16, 17-17, and 17-

         18) have yet to be officially docketed as of today, May 20, 2025 , and

         accordingly the above pending dispositive jurisdictional issues have yet to be

         ruled on by the District Court (Brown, J.) as of this date; Appellants '

         supplemental principal brief is due May 29, 2025, per Dkt. 38.


Rule 8014 VII: SUMMARY OF THE ARGUMENT

         Appellants submit that the Bankruptcy Court's rulings suffer from two

fundamental defects warranting reversal. First, the Bankruptcy Court lacked

constitutional authority under Article III to adjudicate claims asserting alleged rights

in "predatory criminal usury" debt instruments, GX 1-4, and GX 5. Appellees, who


                                                    19

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claim an interest in these .disputed predatory criminal usury convertible promissory

notes [JSARDkt. 5-2, 5-3, 5-4, 5-5, and 5-6; also see Dkt. 5-13 , 5-14, 5-16, and Dkt.

9], never established the constitutional requisite "concrete injury in fact" to a

"legally protected interest" required for Article III standing. In particular, they failed

to show any factual basis to demonstrate that their purported claims-arising from

facially null and void ab initio predatory criminal usury debts, legally unenforceable

instruments- could invoke the Article III subject matter jurisdiction of the federal

courts. Under Steel Co. v. Citizens for a Better Environment, 523 U.S. 83 (1998),

courts are obligated as a "threshold matter" to "first" confirm standing and ensure a

valid case or controversy exist between the parties. Here, because Appellees'

allegations rested solely on predatory, null and void ab initio criminal usury

unlawful convertible debts, GX 1-4, no Article III standing existed. Id. at 94-95.

Consequently, every order predicated on that purported standing is void and must be

reversed. Id.


        Second, even if jurisdiction had been established, it was not, has not, and is a

legal and factual impossibility [See Appx. A and Appx. B] the underlying predatory

criminal usury convertible promissory notes at issue, GX 1-4, were demonstrably

criminally usurious- null and void ab initio, under New York Penal Law§ 190.40,

a class E felony, and federal racketeering laws, including 18 U.S .C. §§ 1951(a),

                                                    20

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1961(6)(B), and 1962. These statutes prohibit "loan-sharking" transactions carrying

illegally high interest rates and impose severe criminal penalties for any entity that

attempts to enforce such debts. The predatory loan-sharking debts in question, which

had the hallmarks of a predatory lending scheme-charged interest rates in excess

0(2,000% , and were originated by predatory unregistered broker-dealers [JSAR

Dkt. 5-13 on page 48], plainly fall within the ambit of these prohibitions. Because

they, the predatory criminal usury debts, GX 1-4, violated both state and federal

criminal laws, they cannot serve as a basis for any legitimate claim in a bankruptcy

proceeding.


        Third, the record is clear that Appellees invoked these unlawful debt

instruments as their sole basis to participate in Appellants ' Chapter 11 case [JSAR

Dkt. 5-2, 5-3 , 5-4, 5-5, and 5-6]. Appellants repeatedly objected to Appellees '

standing in the Bankruptcy Court, citing official certifications from regulatory

agencies showing Appellees ' broker-dealer status was never validly recognized and

referencing the controlling statutory prohibitions.                         Appellants       also raised

contemporaneous objections that any orders enforcing criminally usurious

agreements would contravene the mandatory prohibitions codified in Title 18 and

New York' s penal code. Despite these repeated jurisdictional and substantive

challenges, the Bankruptcy Court proceeded to adjudicate Appellees' purported

                                                     21

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rights and to dismiss Appellants' reorganization efforts. [JSAR Dkt. 5-6, 5-7, 5-8, 5-

9, and 5-10]


        Fourth, because standing is a "fundamental" constitutional prerequisite that

must be satisfied before a court can move to the merits, every order that relied on

Appellees' claims is fatally infirm. The bankruptcy court did not "first" conduct the

"affirmative establishment" of subject matter jurisdiction demanded by Steel Co.

The absence of a thorough inquiry into whether Appellees possessed a concrete and

particularized injury in fact-and whether their alleged debts were enforceable at

all-meant that the Bankruptcy Court erred as a matter of law, and ruled beyond its

constitutional and statutory limits. Furthermore, the Bankruptcy Court's failure to

address the unmistakably criminal character, NYS Penal Law, section 190.40, a class

E felony, of these predatory, criminal usury debt instruments, GX 1-4, contravened

longstanding jurisprudence refusing to enforce obligations tainted by criminal usury

and racketeering violations. [See JSAR Id.]. Adar Bays, 28 F.4d 379 (2d Cir. 2022).


        Finally, in light of these fundamental constitutional defects, the rulings and

decrees under appeal [Dkt. 28, 256, 274, 275, 278, 286; JSAR 5-7, 5-8, 5-9, and 5-

10] must be reversed. This Court should hold, "first," that no Article III jurisdiction

existed over Appellees ' claims, rendering any bankruptcy orders in their favor void


                                                    22

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ab initio. Alternatively, even if standing were presumed, the Bankruptcy Court erred

by allowing enforcement and predatory unlawful debt collection activities [JSAR

Dkt. 5-1 to 5-6] proceedings on predatory criminal usury debts, GX 1-4, and GX 5,

that were criminally usurious under both federal and state law. Either way, reversal

is compelled. Under well-settled precedent, courts may not grant relief to parties

who fail to demonstrate standing or rely on criminally unenforceable debts. Steel

Co. , Id. at 94-95 .


         Consequently, all orders or decrees (Dkt. 28, 256, 263 , 278, 286, etc.)

purporting to legitimize or enforce these criminal usury predatory unlawful debts in

Appellants ' Chapter 11 case must be reversed, vacated, set aside, and annulled, nunc

pro tune, March 18, 2003, and the matter remanded for further proceedings

consistent with constitutional principles and the controlling federal and state law

prohibitions on criminally usurious transactions.


Rule 8014 VIII:                  ARGUMENT
      Part I: "THRESHOLD" ARTICLE III JURISDICTIONAL
                          ISSUES.

    1. APPELLEES LACK ARTICLE III STANDING TO PARTICIPATE IN THIS
        APPEAL, REQUIRING DISMISSAL OF THEIR PARTICIPATION AND
        REVERSAL OF ANY UNDERLYING ORDERS PREDICATED ON THEIR
        PURPORTED CLAIMS.



                                                    23

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                APPELLANTS' JURISDICTIONAL OPENING STATEMENT

        Appellants' Rule 8014 appeal brief first, fundamentally, challenges the 03-

93031 Chapter 11 Bankruptcy Court's and the SDNY 02cv2219 lawsuit's District

Court's Article III constitutional subject matter jurisdiction (the Article III standing

of Appellees, May 17, 2021, FINRA certified unregistered broker-dealers6 [ see

JSAR Dkt. 5-13 on page 48]) 7 over the Predatory Criminal Usury Subject Matter,

GX 1-4, and GX 5 [see JSAR Dkt. 5-3, 5-4, 5-5, 5-6, 5-7, 5-8, 5-9, and 5-10], and is

therefore in compliance with Steel Co. 's directive bifurcated into two parts-(i) Part

I, infra, an Article III "threshold" jurisdictional analysis and assessment, and (ii) Part

II, infra, a merits issues assessment and analysis, as required by the Court's decision

in Steel Co. v. Citizens for a Better Environment, 523 U.S. 83 (1981): (1) "first" as

a "threshold" matter before proceedings to the merit issues raised on appeal

(discussed in Part II, infra) the District Court is required and mandated by Steel Co.,

Id. at 93-95, to "first" "affirmatively establish" (not presume) its Article III



6
  Federal securities law, 15 USC§§ 78o(a)(l) inpari materia with 78cc(b), rendered the Predatory
Criminal Usury Debt Instruments, GX 1-4, and GX 5, null and void ab initio to all rights of the
predatory unregistered broker-dealers to enforce and/or attempt 18 USC § 196 l (6)(8) criminal
usury unlawful debt collection activities in regard to the 02cv2219 (SDNY) lawsuit, by
fraudulently appearing in the 03-93031 Chapter 11 [JSAR Dkt. 5-1 to Dkt. 5-6], or by fraudulently
attempting to appear in this 25cv00613 (NDGA) appeal.

7
 "JSAR" is the Appellants' and the Appellees' Bankr. Rule 8009(d) Joint Stipulated Appellate
Record before the District Court on this appeal.

                                                    24

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constitutional jurisdiction over the Predatory Criminal Usury Subject Matter, GX 1-

4, and GX 5 (No: a legal impossibility); (2) then before proceeding to the merits

issues discussed in Part II, infra,, the District Court is required to affirmatively

determine (not assume) whether the courts from which the record (JSARJ comes

from, 02cv2219 (SDNY) and 03-93031 BC NDGA), had lawful Article III

jurisdiction over the Predatory Criminal Usury Subject Matter, GX 1-4, and GX 5.

(No). Id. 8 Answered in the negative--they did not.

        As a matter of law this ends the District Court's lawful authority over the

appeal's merits issues raised in Part II, infra, for lack of Article III subject matter

jurisdiction over the Predatory Criminal Usury Subject Matter, GX 1-4, and GX 5,

Steel Co. , Id. at 94-95; NYS Penal Law,§ 190.40; 18 USC§§ 1951(a), 1961(6)(B),

and 1961(a-d), cf., United States v. Grote, 961 F.3d 105, 109-119 (2d Cir. 2020)




8
  Ipso facto as a matter of law and fact, the Appellees and their privies pursuant to their Dec. 20,
2007, voluntary Fed. R. civ. P. 4l(a)(2) dismissal with preiudice of the underlying 02cv2219
(SDNY) lawsuit, and the late District Judge Leonard B. Sand' s entry of final judgment [JSAR Dkt.
5-13 on pages 46-47] in favor of Appellants Group Management and Ulysses T. Ware, the
Appellees herein and their privies terminated their status as viable concrete, adverse Article III
'real parties in interest' with respect to all aspects of the 02cv2219 (SDNY) lawsuit, and by
extension all aspects of the 03-93031 BC NDGA) Chapter 11 risible, baseless, bad faith,
vexatious, filed for an improper purpose, and fraudulent claims [see JSAR Dkt. 5-1 to 5-6], cf.,
Bankr. Rule 9011(b)(l-4), and 28 USC § 1927, which rendered 02cv2219 (SDNY orders,
judgments, and proceedings therein annulled and vitiated as of Dec. 20, 2007; and rendered 03-
93031 moot and void ab initio, A.B. Dick Co. v. Marr, 197 F.2d 498, 501-02 (2d Cir. 1952).


                                                    25

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(Affd criminal conviction, criminal sentence, and criminal +$3.5 billion RICO

forfeiture judgment for unlawful debt collection activities). 9


Introduction, Analysis, and Discussion:

              A. The Constitutional Imperative of Standing and Appellees' Abject and

                  Total Failure to Meet This Threshold Requirement. 10


          This appeal is fundamentally and irreparably tainted and c orrupted by the

unlawful, deceptive, vexatious, for an improper purpose, fraudulent, and deceitful

participation of putative parties - Appellees herein, who (i) fraudulently appeared in

the 03-93031 Chapter 11 [JSAR Dkt. 5-2], (ii) and/or are the original plaintiffs from

the Dec. 20, 2007, [JSAR Dkt.. 5-13 on pages 46-47] Fed. R. Civ. P. 41(a)(2) final



9
  On March 31, 2025 , JSAR DC Dkt. 19-4 (Appellees' Stipulated Jurisdictional Facts), Appellees
and their privies voluntarily and deliberately made the strategic litigation decision and stipulated
that they and their privies factually lacked Article III standing in the underlying 02cv2219 (SDNY)
lawsuit, and Article III standing to have appeared and participated in the 03-93031 Chapter 11 [see
JSAR Dkt. 5-1 to 5-6] . A voluntary and conclusive stipulation of the Appellees, which the District
Court is required to take FRE 201(c)(2) judicial notice thereof, and accordingly required to enter
final judgment against all Appellees, and their privies-that is, Appellees have factually and have
judicially admitted, conceded, and stipulated to not being viable Article III concrete, adverse real
parties in interest in this 25cv00613 (NDGA) appeal, in the 03-93031 Chapter 11 , and in the SDNY
02cv2219 lawsuit. See PPX Enterprises, Inc. v. Audiofidelity, Inc ., 746 F.2d 120, 123 (2d Cir.
1984) quoting Stanley Works, v. FTC, 469 F.2d 198,506 (2d Cir. 1972) ("Having agreed on a set
of facts [see DC Dkt. 19-4, the Appellants' and Appellees ' joint stipulations], the parties, and this
[25cv00613] Court, must be bound by themi we are not free to pick and choose at will.").
(emphasis added).
10
     See Id. n. 6, supra.


                                                    26

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judgment voluntarily dismissed with prejudice and annulled 02cv2219 (S.D.N.Y.)

litigation or (iii) stand in privity with them, who demonstrably lack the constitutional

prerequisite of Article III standing.


        The United States Constitution limits the subject matter jurisdiction of all

federal courts to actual "Cases" and "Controversies." U.S. Const. art. III, § 2. An

indispensable component ofthis limitation is the doctrine of standing, which ensures

that federal courts adjudicate real and live only concrete disputes (controversies)

brought by adverse, real parties in interest, legally viable Article III parties 11 who

have suffered a cognizable, particularized injury in fact fairly traceable to the

defendant's conduct and likely to be redressed by a favorable decision. Lujan v.

Defenders of Wildlife , 504 U.S. 555, 560-61 (1992). Standing is not a mere pleading

requirement but an "irreducible constitutional minimum," id. at 560, and its absence,

herein, deprives a federal court of subject matter jurisdiction over the merits of the

claims, or the issues raised on appeal. Steel Co. v. Citizens for a Better Env't, 523




11
  Appel lees and their privies as FINRA certified unregistered broker-dealers [JSAR Dkt. 5-13 on
page 48] as a matter of law and fact are not viable, adverse, concrete Article III real parties in
interest having Article III standing to enforce, and/or engage in predatory loan sharking and
unlawful debt collection activities, 18 USC§§ 195 l(a), 1961(6)(B), 1962(a-d), and 1964(c), in the
United States federal [JSAR Dkt. 5-1 to 5-10, and Dkt. 9] or Georgia state courts [see JSAR Dkt.
5-13 on pages 40-41].

                                                    27

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U.S. 83, 94-95 (1998) ("Without jurisdiction the court cannot proceed at all in any

cause.").


        Appellees, attempting to resurrect voluntarily dismissed with preiudice claims

[see JSAR Dkt. 5-13 pp 46-47] predicated on predatory, criminally usurious, and

legally void ab initio debt instruments (GX 1-4, GX 5), NYS Penal Law, § 190.40,

a class E felony, which were voluntarily dismissed with prejudice nearly two decades

ago in Alpha Capital AG v. Group Management Corp., No. 02cv2219 (S.D.N.Y.)

(the "2007 Final Judgment": JSAR Id.]), utterly fail to satisfy any element of the

Article III standing requirement. Their purported injury stems not from any

unlawful conduct by Appellants, but from the inherent illegality and legal nullity

of their own predatory instruments, GX 1-4, and GX 5, and their strategic,

voluntary Rule 41{a){2) Dec. 20, 2007, abandonment of their risible claims (see

JSAR Dkt. 5-13 on pages 46-47[-that is, a self-inflicted non-cognizable iniury

not in the scope of Article III standing, Clapper v. Amnesty Int '/, USA, 568 U.S.

398 (2013).


        As meticulously detailed below, Appellees have not in the SDNY 02cv2219

litigation, not in the Bankruptcy Court (03-93031 ), and have not and cannot in this

appeal legally or factually demonstrate a particularized, concrete iniury in fact to f!


                                                    28

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legally protected interest in the predatory criminal usury null and void ab initio

subject matter, GX 1-4, and GX 5, cannot establish causation traceable to any

unlawful conduct by Appellants, and cannot show that any conceivable judicial relief

could lawfully redress-permit collection or enforcement of the predatory criminal

usury subject matter, GX_l-4, and GX 5, with respect to their purported grievance. 12


        Consequently, their unlawful and fraudulent participation in this appeal, 13 in

the 03-93031 Chapter 11 Bankruptcy Court, and in the 02cv2219 (SDNY) civil

litigation is constitutionally impermissible and prohibited, and any orders, judgment,

or other rulings entered by the SDNY 02cv2219 district court (Sand, J.) (deceased),

12
   Appellees risibly and incredibly claimed in the SDNY 02cv2219 lawsuit [JSAR Dkt. 5-13 on
pages 52 to 53] and also in the 03-93031 Chapter 11 [JSAR Dkt. 5-1 to 5-6] they were somehow
aggrieved and suffered a particularized, concrete injury in fact, to a legally protected interest in the
predatory Criminal Usury Unlawful Debts, GX 1-4, and GX 5- Id. Dkt. 5-5] that is, they claimed
they were allegedly inured by Appellants' lawful conduct in refusing to aid, abet, enable, and/or
facilitate their Hobbs Act predatory loan sharking criminal enterprise's dangerous and potentially
deadly extortion attempts to extort Appellant Group Management and Ware out of +$522 million
in free-trading securities and enable an illegal public offering to sell the unregistered securities in
the public markets of the United States, by unregistered broker-dealer, to collect the predatory
criminal usury unlawful debts, GX 1-4, in violation of the criminal federal loan sharking and
racketeering laws, 18 USC 1951(a), 1961(6)(B), and 1962(a-d); and federal securities laws, 15
USC§§ 77d, 77e, 77x, 78o(a)(l), 78ff, and SEC Release 33-7190 n. 17 (1995). That is what the
Appellees, their agents, privies, proxies, surrogates, alter-egos, and all those in active concert
therewith, a predatory illegal association in fact as defined in 18 USC § 1961(4), a predatory
continuing criminal enterprise, with a straight face have claimed in the underlying proceedings,
and will claim in this appeal if permitted to participate.

13
   The Appellees and their privies all lack Article III standing in this proceeding--(i) are not concretely
adverse, real parties in interest given their indisputable [see JSAR Dkt. 5-14 pp. 46-47] Dec. 20, 2007, Dkt.
90, 02cv22 l 9 (SDNY) after the statute of limitation had run on all claims, Rule 41 (a)(2) dismissal with
preiudice of the 02cv2219 (SDNY) lawsuit- ipso facto, the Appellees as a matter oflaw cannot be adverse
to the issues on appeal given their voluntary Rule 41(a)(2) dismissal with preiudice of02cv2219 (SDNY).

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the Atlanta 03-93031 Bankruptcy Court [BC Dkt. 28; and JSAR Dkt. 5-6, 5-7, 5-8,

5-9, and 5-10], or this Court (25cv00613), Dkt. 38, predicated upon Appellees' moot,

baseless, and criminal claims-Hobbs Act 18 USC §§ 1951(a), 1961(6)(B), and

1962(a-d) unlawful debt collection claims [see JSAR Dkt. 5-1 to 5-6] must be

reversed, vacated, set aside, and annulled nunc pro tune March 18, 2003, for lack of

Article III constitutional subject matter jurisdiction over the Predatory Criminal

Usury Subject Matter, GX 1-4, and GX 5. Steel Co., 523 U.S. at 93-95.


B. Governing Law: The Rigorous Requirements of Article III Standing

        The Supreme Court has consistently enforced the strictures of Article III

standing. To invoke federal jurisdiction, a plaintiff (or, in this appellate context, an

Appellee asserting a grievance) "must have (1) suffered an injury in fact, (2) that is

fairly traceable to the challenged conduct of the defendant, and (3) that is likely to

be redressed by a favorable judicial decision." Spokeo, Inc. v. Robins, 578 U.S. 330,

338 (2016) (citing Lujan, 504 U.S. at 560-61). The party [Appellees herein]

invoking federal jurisdiction in the bankruptcy court [see JSAR Dkt. 5-1 to Dkt.

5-6 (Appellees as petitioners); see 02cv2219 (SDNY) lawsuit (Appellees as

plaintiffs)] bears the burden of establishing these elements. Lujan, 504 U.S. at 561.




                                                    30

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     1. Injury in Fact: The Appellees' herein alleged injury must be "an invasion of

        a legally protected interest which is (a) concrete and particularized, and (b)

        actual or imminent, not conjectural or hypothetical." Id. at 560 (internal

        quotation marks and citations omitted). Appellees' alleged "legally protected

        interest" with respect to the specific Predatory Criminal Usury Unlawful Debt

        Subject Matter, GX 1-4, and GX 5, requires a cognizable lawful right

        recognized under statutory, constitutional, or common law. Id. at 560-61. 14

        Furthermore, threatened injury must be "certainly impending" to constitute

        injury in fact; mere "[a]llegations of possible future injury are not sufficient."

        Clapper v. Amnesty Int'! USA, 568 U.S. 398, 409 (2013) (emphasis in

        original). Crucially, parties "cannot manufacture standing merely by inflicting

        harm on themselves based on their fears of hypothetical future harm." Id. at

        416.




14
   It is axiomatic and beyond rational dispute that Appellees nor their privies, agents, proxies,
surrogates, alter-egos, nor all those in active concert therewith, have not and as a matter of law and
fact cannot (a legal and factual impossibility) establish any "legally protected right or interest" in
the null and void ab initio predatory criminal usury subject matter, GX 1-4, and GX 5, cf., NYS
Penal Law, § 190.40, the criminal usury law, a class E felony, within the scope of Article III
standing to lawfully enforce and/or undertake collection activities [see JSAR Dkt. 5-1 to Dkt. 5-
10, and Dkt. 9] in violation of the Hobbs Act, 18 USC§§ 195l(a), 18 USC 1961(6)(B), 1962(a-
d), and 1964(c), the federal racketeering and loan sharking laws and Id.§§ 152 and 157, the federal
bankruptcy laws.

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    2. Causation: The Appellees ' alleged injury must be "fairly traceable" to the

           Appellants' challenged unlawful conduct, not the result of the independent

           action of the Appellees or a third party. Lujan, 504 U.S. at 560; Simon v.

           Eastern Ky. Welfare Rights Org., 426 U.S. 26, 41-42 (1976).

    3. Redressability: The alleged injury must be "likely," as opposed to merely

           "speculative," that the alleged injury will be lawfully redressed by a favorable

           court decision. Lujan, 504 U.S. at 561. If the [Appellees'] requested relief [see

           JSAR Dkt. 5-1 to 5-6] cannot lawfully remedy the alleged harm, standing is

           absent.


C. Appellees Categorically Fail to Establish Any Element of Article III Standing

           Applying these rigorous, fundamental constitutional jurisdictional standards,

Appellees' attempt to assert standing in this appeal, in the 03-93031 bankruptcy

court, and/or in the moot 02cv2219 (SDNY) lawsuit collapses entirely.


    a) Appellees Have Suffered No Cognizable "Injury in Fact" to a "Legally

           Protected Interest."


      1.      Appellees' core grievance - their inability to enforce or collect on the

              Predatory Criminal Usury Subject Matter Instruments (GX 1-4, GX 5) -




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              does not constitute an "injury" to "a legally protected interest" as required

              by Lujan.

     11.      Absence of a "Legally Protected Interest" Due to Voidness Ab Initio:

              The instruments themselves, GX 1-4, and GX 5, are nullities, predatory

              criminal usury debts as a matter oflaw incapable of conferring any "legally

             protected rights." 18 USC§ 1961(6)(B), NYS Penal Law, section 190.40.


D. GX 1-4, and GX 5 are Null and Void Ab initio Predatory Criminal Usury

Subject Matter Void Ab Initio Under New York Law:


           GX 1-4 are demonstrably void ab initio under New York Penal Law§ 190.40,

carrying interest rates vastly exceeding the criminal usury threshold (+2000%).

Instruments void from inception cannot create a legally protected interest susceptible

to injury. See Adar Bays, LLC v. GeneSYS ID, Inc., 28 F.4th 379, 383-84 (2d Cir.

2022) (recognizing that criminally usurious notes can be nullified). The inability to

enforce an instrument that is legally void and criminally proscribed is not an invasion

of a legally protected interest; consequently, there is no "concrete, particularized

injury in fact." The Appellees' claims are crushed and collapse under their own

weight.


Federal Securities Law Violations (Unregistered Broker-Dealers):

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        Appellees (the 02cv2219 Plaintiffs) acted as unregistered broker-dealers in

connection with these (GX 1-4, and GX 5) predatory criminal usury instruments, a

violation of 15 U.S.C. § 78o(a)(l). Pursuant to 15 U.S.C. § 78cc(b), contracts made

in violation of this chapter are void as regards the rights of the violating party (the

Appellees). This federal statutory voidness provides an independent basis for

concluding Appellees possess no legally protected interest in GX 1-4 or GX 5. [See

Joint Stipulated Appellate Record, Dkt. 5-13 , p. 48 (FINRA certification)].


Absence of a "Legally Protected Interest" Due to Res Judicata:


        The 02cv2219 (SDNY) 2007 Final Judgment, [JSAR Dkt. 5-13 pp. 46-47]

voluntarily sought by Appellees and dismissing their claims with prejudice,

extinguished any conceivable legal interest or claim they might have arguably

possessed related to GX 1-4 and GX 5. Res judicata operates to eliminate the

underlying cause of action entirely. Federated Dep 't Stores, 452 U.S. at 398.

Appellees cannot suffer · a cognizable injury regarding rights that were legally

extinguished by a final judgment they themselves procured.


    a) Injury is Not Concrete, Actual, or Imminent, but Speculative and Self-

        Inflicted (Clapper Analysis): Any alleged harm claimed by Appellees is not

        "concrete" or "actual." It rests on the speculative and legally impossible

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        contingency that a federal court would somehow validate and enforce void,

        criminally usurious, and previously dismissed claims. Clapper squarely

        rejects standing based on such attenuated possibilities. 568 U.S. at 409.

    b) More fundamentally, any harm Appellees claim is self-inflicted. They suffer

        not from Appellants' lawful conduct, but from the direct consequences of: (1)

        their own decision to engage in predatory, criminally usurious lending; (2)

        their own failure to comply with federal broker-dealer registration

        requirements; and (3) their own strategic, voluntary decision to dismiss their

        02cv22 l 9 claims with prejudice after the limitations period expired. As

        Clapper commands, parties "cannot manufacture standing merely by

        inflicting harm on themselves." Id. at 416. Their current predicament is

        entirely of their own making, stemming from their unlawful actions and

        strategic litigation choices-a self-inflicted wound, not from any injury

        cognizable under Article III.


    1. Appellees Cannot Establish Causation Traceable to Appellants' Lawful
       Conduct.

                Even if a cognizable injury existed (which it does not), Appellees

        cannot satisfy the causation element. The injury must be "fairly traceable" to

        the unlawful conduct of the defendant. Lujan, 504 U.S. at 560.


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            a) Appellants' Conduct Was Lawful: Appellants' actions - refusing to

                make payments on void and criminally usurious debts, challenging their

                enforcement in court, refusing to facilitate further securities law

                violations by issuing bogus Rule 144(k) opinions, and asserting the

                defense of res judicata - are entirely lawful and, indeed, legally

                required. Compliance with state criminal usury laws, federal securities

                and racketeering laws, and the assertion of valid legal defenses like res

                judicata cannot constitute the "unlawful conduct" necessary for Article

                III causation.

            b) Injury Traceable Only to Appellees' Own Unlawful Actions and the

                Instruments' Illegality: Any alleged harm is directly and solely

                traceable to Appellees' own unlawful conduct (predatory lending,

                unregistered broker-dealer activity) and the inherent legal defects

                (voidness ab initio, criminal usury, dismissal with prejudice) rendering

                the instruments unenforceable. The Appellee cannot show a causal link

                between Appellants' lawful resistance and any cognizable injury

                suffered by Appellees.


    2. Appellees' Purported Injury is Not Redressable by a Favorable Judicial
       Decision.


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              Finally, Appellees fail the redressability prong. It must be "likely" that a

          favorable court decision will redress the alleged injury. Lujan , 504 U.S. at

          561.


              a) Legal Impossibility of Relief: No federal court possesses the authority

                  to grant the· relief Appellees implicitly seek - the enforcement or

                  validation of claims predicated on the void, criminally usurious, and

                  previously dismissed Predatory Criminal Usury Subject Matter

                  Instruments. 15 Granting such relief would require this Court to

                  disregard New York criminal law, federal securities and racketeering

                  laws, and the binding effect of the Judge Sand' s 02cv2219 (SDNY)

                  2007 Final Judgment under the doctrine of res judicata. Such an action

                  is legally impossible and would constitute a violation of public policy

                  and the rule of law.

              b) Voidness and Preclusion Render Relief Futile: Because the

                  underlying predatory, criminal usury debts, GX 1-4, and GX 5, are void

                  ab initio and any claims related thereto are barred by res judicata, no




15
     See JSAR Dkt. 5-1 to 5-7 manifestly frivolous and bad faith filings in 03-93031 (BC NDGA).

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                judicial decree can lawfully "redress" the inability to collect on them.

                The "injury"· is inherently unredressable by lawful judicial means.


E. Steel Co. Mandates Dismissal for Lack of Threshold Jurisdiction.

        The Supreme Court's mandate in Steel Co. is unequivocal: federal courts must

"first" establish jurisdiction, including standing, as a threshold matter before

proceeding to the merits. 523 U.S. at 94 ("The requirement that jurisdiction be

established as a threshold matter... is inflexible and without exception."). Appellees'

manifest lack of Article III standing is not merely a defense on the merits; it is !!

fundamental jurisdictional defect that divests this Court of the power to hear their

arguments or grant them any relief in this appeal. Hypothesizing jurisdiction to

reach the merits is constitutionally forbidden. Id. at 94-95. This Court must,

therefore, address Appellees' lack of standing "first" and dismiss their participation

in this appeal accordingly.


F. Conclusion: Appellees Are Improper Parties Lacking Constitutional
Standing.

        Appellees, as privies of the 02cv2219 plaintiffs, stand before this Court devoid

of the irreducible constitutional minimum of Article III standing. They have suffered

no concrete, particularized injury to a legally protected interest; any alleged harm is

speculative, self-inflicted; and traceable only to their own unlawful conduct and the

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inherent nullity of their claims; and their purported injury is utterly unredressable by

any lawful judicial decree. Their continued participation in this appeal constitutes a

vexatious collateral attack on Judge Sand's Dec. 20, 2007, 02cv2219 (SDNY) Rule

4l(a)(2) 2007 Final Judgment and an impermissible burden on Appellants and this

Court. Pursuant to Lujan, Steel Co., and Clapper, this Court lacks subject matter

jurisdiction over Appellees' purported claims and arguments, requiring the dismissal

of their participation in t~is appeal and the vacatur of any underlying Bankruptcy

Court orders predicated upon their constitutionally infirm presence.


         Part II: MERIT ISSUES RAISED BY APPELLANTS. 16
     1. APPELLEES' (PREDATORY UNREGISTERED BROKER-DEALERS)
        CONVERTIBLE PROMISSORY NOTES, GX 1-4, AND GX 5, ARE NULL
        AND VOID AB IN/TIO, UNENFORCEABLE, UNCOLLECTIBLE,
        PREDATORY CRIMINAL USURY UNLAWFUL DEBTS THAT
        VIOLATED NYS PENAL LAW, § 190.40, A CLASS E FELONY; AND
        VIOLATED THE FEDERAL RACKETEERING AND LOAN SHARKING
        CRIMINAL LAWS, 18 USC§§ 1951(a), 1961(6)(B), 1962(a-d), and 1964(c).

        The Bankruptcy Court erred as a matter oflaw and fact in ruling [BC Dkt. 28;

274, 275; JSAR Dkt. 5-7, 5-8, 5-9, and 5-10] that the Predatory Criminal Usury

Subject Matter, GX 1-4, and GX 5, are not null and void ab initio, uncollectible,

unenforceable, and the Appellees' attempts to enforce, and/or facilitate the predatory


16
   See Appx. C-Dkt. 19-4, The Parties' Joint Stipulations resolved all appellate issues raised
herein as a matter of law and fact in favor of the Appellants-that is, equitable and judicial
estoppel.

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unlawful debt )GX 1-4, and GX 5) collection thereof, [JSAR Dkt. 5-1 to 5-6] did not

constitute racketeering loansharking, unlawful debt collection activities in criminal

violation of the above federal and state statutes.


Introduction, Analysis, and Discussion.

                                     OPENING STATEMENT

        On March 31, 2025, [DC Dkt. 19-4; Appx A, and Appx. B], the Appellants

and the Appellees jointly stipulated, agreed, and approved binding, dispositive, and

conclusive factual stipulations that resolved all merit issues raised by Appellants in

this 25cv00613 appeal [JSAR 5-13 on pages 6 to 23]. Accordingly, Appellants

hereby request pursuant to FRE 201(c)(2) and provide the necessary information,

[see Appx. A, and Appx B], (i) that the District Court take judicial notice of the

dispositive factual stipulations of the Appellants and Appellees, which resolved all

outstanding appellate Article III standing and merit issues in favor of the

Appellants 17 , and (ii) pursuant to FRE 20l(e), Appellants respectfully request that

the District Court schedule the mandatory hearing on Appellants' facts and

stipulations.




17
  The Appellants expressly reserve and give notice of their right to amend, supplement, or modify
their Rule 8014 25cv00613 appeal brief pending the District Court's required FRE 201(c)(2) taking
judicial notice of the parties ' factual stipulations, judicial admissions, and concessions.

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        The appellate record [DC Dkt. 19-4; see also Appx A, and Appx B attached

hereto] shows that on March 31, 2025, the Appellants and Appellees knowingly and

willingly entered into binding, dispositive, and conclusive factual stipulations

which resolved in favor of Appellants all issues raised in this appeal, [JSAR Dkt.

5-13 on pages 6 to 23], which disposed of and irrevocably terminated any extant,

live Article III concrete, adverse, factual controversy between the parties herein and

their privies apropos Appellants' appeal issues. Thus, lacking viable, concrete,

adverse Appellees in this cause, and lacking an extant Article III factual controversy

between the Appellants and the Appellees herein apropos all issues to be raised on

appeal, the District Court is without a live case or controversy to adjudicate-that

is, by binding factual stipulations, judicial admissions, and concessions the

Appellees and their privies conceded, and stipulated all previously disputed facts are

to be resolved in favor of Appellants' legal positions and arguments. Steel Co., Id.

at 94-95.



Rule 8014 IX. Conclusion and Precise Relief Sought


    1. Accordingly, applying the holding in Steel Co., 523 U.S. at 93-95, a live

        Article III controversy does not exist between the parties regarding all issues



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        raised on this appeal; requiring the District Court to undertake the following

        reliefs:

            A. Notice the fact, dismiss the cause [the 25cv00613 appeal],

            B. withdraw the 03-93031 reference to the Bankruptcy Court;

            C. enter an order that reverses, vacates, sets aside, vitiates, and annuls, nun

                pro tune, March 18, 2003, all orders, proceedings, and judgments

                entered in 03-93031 ;

            D. reopen and reinstate 03-93031 Chapter 11;

            E. enter an order directing the Appellees and their privies, agents, proxies,

                surrogates, alter-egos, and all those in active concert therewith, to turn

                over to the Clerk of the Bankruptcy Court, $522 million in 15 USC

                78p(b) strict-liability short-swing profits for administration to the

                creditor,

            F. enter a restraining order and injunction enjoying the Appellees, their

                privies, agents, proxies, surrogates, and alter-egos from appearing in

                the District Court in regard to the 03-93031 and derivative matter with

                respect to the Predatory Criminal Usury Subject Matter, GX 1-4, and

                GX5 ,




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            G. set this matter down for a court-supervised Rule 3.3 and 8.4 duty of

                candor and professional responsibility sanctioning proceedings,

            H. enter the Consent, Stipulated Final Money Judgment for Appellants in

                the sum certain amount of $5 .2225 billion, against each Appellee, and

                their privies, jointly, severally, individually, and personally;

            I. set the matter down for Rule 9011(b)(l-4), 28 USC 1927, and the

                Court's inherent power to conduct sanctioning proceedings,

            J. entry of a show cause order, given DC Dkt. 19-4 stipulated facts,

                directed to all attomey-Appellees to show cause why each shall not be

                enjoined and restrained from appearing and practicing in the District

                Court (NDGA) or any other United States federal court for a period of

                five (5) years, and (ii) why each shall not be fined as a monetary

                sanction the sum certain amount of $125,000,000.00 jointly, severally,

                individually, and personally for violations of Rule 11 (b )( 1-4), 28 USC

                § 1927, and the court inherent powers,

            K. order all Appellees to tum over to the Appellants all msurance

                information required by Rule 26(a)(l)(A)(iv)




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Rule 8014 X: Certificate of Compliance
    Pursuant to Rule 8015(h) of the Federal Rules of Bankruptcy Procedure, the

undersigned hereby certifies:


    1. This brief complies with the type-volume limitation of Rule 8015(a)(7)(B)(i)

        because it contains 9, 459 words, excluding the parts of the brief exempted

        by Rule 8015(g), as determined by the word count function of the word-

        processing software used to prepare this document.

    2. This brief complies with the typeface requirements of Rule 8015(a)(5) and the

        type-style requirements of Rule 8015(a)(6) because it has been prepared using

        a proportionally spaced typeface in Times New Roman, 14-point font.


RULE 8014 XI: ADDITIONAL CONSIDERATIONS FOR THIS
APPEAL
        Appellants, Ulysses T. Ware and Group Management (the "Debtor"),

respectfully submit these supplementary points to amplify the issues on appeal and

to confirm the scope of relief sought under Rule 8014 of the Federal Rules of

Bankruptcy Procedure. This section is integral to explaining how factual realities

and the controlling legal framework mandate reversal or, in the alternative,

comprehensive remand of the Bankruptcy Court' s rulings.



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A. Potential Protective or Injunctive Relief

        Appellants are entitled to seek protective measures or injunctive relief in the

event that, without such intervention, the status quo would be irreversibly disturbed

during the pendency of this appeal. Specifically:


    1. Stay of Enforcement Under Fed. R. Bankr. P. 8007: Appellants may apply

        for a stay of enforcement of any orders below that adversely affect the

        Debtor's property, ongoing business interests, or ability to realize value for

        creditors. The Bankruptcy Court's contested rulings-if executed-have

        already irreparably hindered the Debtor's reorganization efforts or effectively

        nullify the relief Appellants seek on appeal.

    2. Likelihood of Success and Balance of Equities: In this Circuit, courts weigh

        (a) the movant' s likelihood of success on the merits; (b) the prospect of

        irreparable harm absent injunctive re.lief; (c) potential harm to other parties;

        and (d) the public interest. Here, Appellants have consistently demonstrated

        that the underlying predatory criminal usury debts, GX 1-4--which they

        assert are criminally usurious and unenforceable-posed a grave threat to the

        Debtor's estate, and that irreparable harm has already occurred if enforcement

        is not stayed.




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    3. Preservation of Core Appellate Issues: Because one of the chief questions

        on appeal involves. whether the Bankruptcy Court erroneously sanctioned or

        validated predatory criminal usury unlawful debt obligations, allowing

        continued enforcement would subvert the appellate process. The preservation

        of any right to challenge the validity of these instruments remains paramount.


B. References to Predatory Usury and Voided Debt Instruments

        Central to Appellants' position is the assertion that certain promissory notes

and convertible debt instruments- purportedly held by parties such as Alpha

Capital, AG, and its affiliated entities-are predatory, criminally usurious or

otherwise illegal. The record is replete with evidence that:


    1. Exorbitant Interest Rates and Criminal Usury: Multiple instruments, GX

        1-4, carried interest rates far exceeding applicable statutory maximums

        (2,000%). Appellants have identified rates and terms that, on their face,

        contravene state and/or federal usury laws, implicating 18 U.S.C.

        § 1961(6)(B) regarding "unlawful debts." Evidence also indicates that

        Appellees have acted as unregistered broker-dealers-heightening the

        impropriety of the underlying predatory debt transactions.




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    2. Null and Void Ab Initio: Appellants have expressly argued that any alleged

        obligations asserted by Appellees arising from such agreements must be

        deemed null and void from the outset under controlling authorities. The

        Bankruptcy Court nevertheless erred and failed or refused to make a proper

       factual inquiry into these allegations or to hold a requisite evidentiary

        hearing, thereby allowing claims premised on facially unlawful obligations to

        encumber the estate.

    3. Potential Breach of Professional Conduct Rules: Appellants further aver

        that certain counsels, KTS lawyers, Meir, Mills, Kadaba, Walker, Zitter,

        Grushko, Baker & McKenzie, LLP, the State Bar of Georgia, in the

        proceedings, by continuing to advocate for or enforce these predatory debts,

        contravened basic ethical prohibitions, Rule 8.4, and duties of candor, Rule

        3.3, to the tribunal. The Bankruptcy Court's glaring omission in addressing

        these serious concerns undermined the fairness of the process, a critical error

        requiring correction on appeal.


C. Res Judicata and Coliateral Estoppel

        Appellants firmly maintain that specific claims now pressed by Appellees

were conclusively extinguished by prior final judgments in other federal

proceedings:

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    1. Prior Final Judgment in District Court: A binding Rule 4l(a)(2) final

        judgment of the 02cv2219 United States District Court for the Southern

        District of New York expressly addressed the enforceability of the same or

        substantially similar debt instruments. That final judgment plainly superseded

        the claims that some creditors and their counsel later reasserted in the

        bankruptcy forum.

    2. Res Judicata (Claim Preclusion) Elements: Under Eleventh Circuit law, res

        judicata applies where (i) the previous decision was rendered by a court of

        competent jurisdiction, (ii) the decision was final and on the merits, (iii) the

        parties (or their privies) are identical, and (iv) the same cause of action was

        involved in both suits. Here, each element is indisputably met, yet the

        Bankruptcy Court allowed those same claims, or derivative forms of them, to

        proceed.

    3. Collateral Estoppel (Issue Preclusion) Factors: Even if the entire cause of

        action is not identical, issues "actually litigated and necessary to the outcome"

        of the prior proceeding cannot be revisited. Appellants have shown that the

        specific factual determinations-namely, that certain notes or liabilities were

        void due to usurious rates, GX 1-4-were fully stipulated, see DC Dkt. 19-4,




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        litigated and necessarily resolved. The Bankruptcy Court erred by permitting

        creditors to resurrect or "re-litigate" them.

    4. Impact of Judicial Estoppel and Finality: The erroneous re-ligation in the

        Bankruptcy Court not only undermines the finality principle that fosters

        reliance on court judgments but also results in duplicative litigation that is

        contrary to fundamental notions of judicial economy. Appellants were

        prejudiced by being compelled to defend again against claims that had been

        conclusively resolved by Rule 41 (a)(2) final judgment in their favor


D. Evidentiary or Procedural Defects

        Appellants emphasize that multiple procedural irregularities in the

Bankruptcy Court irreparably prejudiced the fair adjudication of their claims and

defenses:


    1. Denial of Due Process: Appellants received inadequate notice and

        opportunity to present material evidence refuting the validity of the contested

        predatory debt obligations, GX 1-4. Critical documentary proofs and witness

        testimony-particularly regarding interest rate computations and the broker-

        dealer status of certain noteholders-were never considered or admitted due

        to improper procedural constraints.



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    2. Incomplete or Erroneously Curtailed Record: Despite timely objections,

        the Bankruptcy Court declined to incorporate or scrutinize certain key filings

        that demonstrate the impropriety of the alleged debts. This omission

        contravenes the requirement of a full and transparent record under Fed. R.

        Bankr. P. 8009, depriving Appellants of any meaningful chance to establish

        the facial illegality of the instruments.

    3. Misapplication of Bankruptcy Rules: The Bankruptcy Court approved or

        validated claims even where the underlying obligations were contested as

        usurious. It further accelerated certain motions (e.g., a motion to reject

        executory contracts) without convening the thorough evidentiary hearing

        mandated by the Bankruptcy Code. This truncated process prevented

        Appellants from effectively raising defenses, including those rooted in state

        law prohibitions on interest rates exceeding statutory caps.

    4. Cumulative Effect of Procedural Errors: While any one error might

        warrant remand, . the aggregate prejudice here is undeniable. The

        Bankruptcy Court's refusal to examine evidence of usury, its misapplication

        of final-judgment preclusion standards, and its hasty disposition of critical

        motions collectively resulted in a ruling that is fatally flawed.


CONCLUSION

                                                   50

(Part 18-0AM-1) re: Ware, et al. v. Alpha Capital, AG, et al., Appellant's Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on May 20, 2025, via email to Chambers and U.S. mail.
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          Appellants submit that these Additional Considerations-the need for

  injunctive relief, the thorough examination of criminally usurious or otherwise void

  debt instruments, the proper application of res judicata and collateral estoppel, and

  the imperative to rectify the substantial evidentiary and procedural shortcomings

  below-are decisive. Each point compels reversal of the Bankruptcy Court's rulings

  or, at minimum, a remand with clear instructions that no claim or interest arising

  from criminal usury or void transactions can be lawfully enforced against the

  Debtor's estate. Appellants stand prepared to demonstrate that, under the most

  exacting scrutiny, the lower court's orders cannot withstand de novo appellate

  review and that full relief for the Debtor's estate is not only justified but required by

  controlling federal law.


  Dated: April 7, 2025, and May 20, 2025
  Brooklyn, New York

r"'\Re; pectfully sub~tted,
L/M,~Q, t-V~
  /s({Jtysses T. Ware
  Ulysses T. Ware
  Attorney in Fact for Appellants
  Ulysses T. Ware and Group Management
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  Brooklyn, NY 11226
  (718) 844-1260
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                                                      51

  (Part 18-0AAA-1) re: Ware, et al. v. Alpha Capital, AG, et al., Appellant's Rule 8014 Opening Brief
  Filed with District Judge Michael L. Brown on May 20, 2025, via email to Chambers and U.S. mail.
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I, Ulysses T. Ware, Appellant herein, certify under oath and subject to the penalty

of perjury that I timely filed Appellants' Rule 8014 Appeal Brief in 25cv006 l 3

(NDGA) on Monday, April 7, 2025, 7:50:30 AM and again on May 20, 2025 , via

email to the Chambers of the Hon. Michael L. Brown, U.S. District Judge (NDGA),

and via U.S. mail.

ct!fol~ ;), I.N~
Isl Ul/sses T. Ware




      Declaration of Filing and Service Pursuant to 18 U.S.C. § 2071(a), (b)

I, Ulysses T. Ware, attorney in fact for the Appellants, hereby declare under penalty
of perjury pursuant to 28 U.S.C. § 1746, that the foregoing memorandum and the
attached Appellants' Rule 8014 appeal brief (Part 18-0AAA-l) constitute a judicial
pleading submitted to the Office of the District Clerk's possession for filing and
docketing in Case No. l:25-cv-00613-MLB, on this 20 th day of May 2025; and all
Appellees, and their legal counsels of record have been served on May 20, 2025 ,
with a copy of the foregoing (18-0AAA-l) (Part 18-0AAA-l).

Isl Ulysses T. Wt r)'
c:)j~ o). vvaA.JL__
ufy~~ s T. Ware, attorney in fact for the Appellants

                    Compliance with Standing Order, 1 (m), Dkt. 2.

April 4, 2025, "Meet and Confer" Efforts.




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(Part 18-0AAA-1) re: Ware, et al. v. Alpha Capital, AG, et al., Appellant's Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on May 20, 2025, via email to Chambers and U.S. mail.
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         On April 4, 2025, Appellant, through the undersigned attorney in fact,

 attempted in good faith to "meet and confer" with Kilpatrick, Townsend & Stockton

 LLP ' s attorneys, including Messrs. Walker, Kadaba, Meir, and Mill, regarding the

 substantive content of this Rule 8014 appeal brief (18-0A) and to solicit any

 objections they might have to the entry of a proposed Joint Consent Order granting

 the urgent relief requested herein. Despite providing notice and opportunity to

 respond, Appellant received no indication that any of those attorneys intended to

 appear in this appeal or to discuss potential consent terms for staying the Dkt. 10

 briefing schedule, nor was any written objection tendered to Appellant in response

 to the proposed Joint Consent Order.


 Is/ Ulysses T. Ware

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                                              End of Brief




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 (Part 18-0AAA-1) re: Ware, et al. v. Alpha Capital, AG, et al., Appellant's Rule 8014 Opening Brief
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                       The Office of Ulysses T. Ware
                              . 123 Linden Boulevard, Suite 9-L
                                   Brooklyn, New York 11226
                            (718) 844-1260 · UTWare007@gmail.com

                                    May 20, 2025, 9:34:43 AM

VIA U.S. MAIL & E-FILING

Office of the District Clerk
United States District Court (NDGA)
Richard B. Russell U.S. Courthouse
75 Ted Turner Drive, S.E.
Atlanta, Georgia 30303

Re: Ware, et al. v. Alpha Capital, AG, et al., No. 1:25-cv-00613-MLB -
Submission of Appellants' Opening Appellate Brief Pursuant to the Court's April 29, 2025 Order
(Dkt. 38) and Fed. R. Bankr. P. 8015(a)(7)(B)(i)

Dear Clerk of Court:

        Pursuant to the District Court's April 29, 2025, Order (Dkt. 38) and Federal Rule of
Bankruptcy Procedure 8015(a)(7)(B)(i), the Appellants hereby tender for filing the materials listed
below. Consistent with the Order's "25-page (10,833.33-word)" limitation and Rule 8015(h)(l),
the principal brief contains 9,459 words, as certified in the attached compliance statement. Each
document conforms to the form, length, and certificate requirements of Rule 8015(a)-(h).

Enclosures

    1. Opening Appellate Brief- 25 pages / 10,833.33 words (Rule 8015(a)(7)(B)(i)); Rule
      8015(h)(1) Certificate of Compliance included.
   2. Appellants' Declaration of Duress, Objection, and Protest (executed under 28 U.S.C.
      § 1746).
   3. Appendix A -Appellants' April 2, 2025 Rule 201(c)(2) Request for Judicial Notice.
   4. Appendix B -April 4, 2025 Supplement #1.0 to Judicial-Notice Motion (Form SB-2
      materials, etc.).
   5. Appendix C - Joint Stipulated Damages & Rules 3.3 / 8.4 Violations (Dkt. 19-4).
   6. Appendix D - District Court Order, April 29, 2025 (Dkt. 38).
   7. Appendix E-Advisory Committee Notes to Fed. R. App. P. 32.
   8. Appendix F- Fed. R. Civ. P. 83 (Local-Rules) Text & Commentary.

Mandatory docketing under Rule 8015(f)



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        Rule 80 l 5(f) provides that "[a} document that complies with the form requirements of this
rule ... must be accepted for filing. " Each enclosed paper is in proper form; accordingly,
Appellants respectfully request that the Clerk immediately file and docket the Opening Appellate
Brief and accompanying materials in Case No. 1:25-cv-00613-MLB.

Copies and service

       One original copy of each document is enclosed for the Court. Electronic copies were
simultaneously transmitted to chambers and all registered parties of record.

Contact information

      Should any questions arise concerning these filings, please contact the undersigned at the
Brooklyn address or telephone number above.

R     ctfully submitted,
    b+t/J_,,A-, ;) •
    n~ ses1 ~Ware
                       w~
Ulysses T. Ware
Attorney-in-Fact for the Appellants
Ulysses T Ware and Group Management

Enclosures (8)

                                Declaration of Service
                                                                                    th
        I, Ulysses T. Ware, on behalf of the Appellants, certify that I have this 20 day of May

2025, served each Appellee, or their representative, via their public email account with a copy of

the Enclosures herein.




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Tuesday, May 20, 2025
Re : District Clerk's Filing Memorandum
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